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                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

The City of Chicago, et al.
                                       Plaintiff,
v.                                                    Case No.: 1:17−cv−05720
                                                      Honorable Harry D. Leinenweber
Jefferson Beauregard Sessions III
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 16, 2017:


       MINUTE entry before the Honorable Harry D. Leinenweber:Motion hearing held
on 11/16/2017. The Court will rule by mail on the City of Chicago's Motion for Partial
Reconsideration and the United States Conference of Mayors' Motion to Intervene. Mailed
notice(wp, )




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